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            EXHIBIT 2
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                                                       ORDER ON SUBMITTED MATTER


                                                                                   SUPERIOR COURT OF CALIFORNIA
                                                                                      COUNTY OF SANTA CLARA


                                                   MICHELLE BEVERAGE, et al.,                               Case N0.: 20CV370535

                                                                     Plaintiffs,                            ORDER CONCERNING APPLE INC.’S
                                                                                                            DEMURRER TO PLAINTIFFS’
                                                             V.                                             SECOND AMENDED COMPLAINT
                                                   APPLE INC., et al.,

                                                                     Defendants.




                                                             Plaintiffs bring this action against Defendant Apple Inc. 0n behalf 0f a putative class 0f

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                                                   California consumers.      They challenge Apple’s removal 0f the social and gaming software
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                                                   application “Fortnite” from its application marketplace (the “App Store”) and Apple’s related

                                                   alleged abuse 0f monopolistic power.

                                                             Following a pause 0n merits-related proceedings t0 allow the parties t0 address the post-

                                                   trial decision in a related federal case, Epic   Games Inc. v. Apple Inc. (N.D. Cal., N0. 4:20-CV-

                                                   05640) (“Epic”), Plaintiffs ﬁled a First Amended Class Action Complaint (“FAC”).1 Apple

                                                   demurred, and in an order ﬁled 0n February 4, 2022 (“February Order”), the Court sustained its

                                                   demurrer with leave t0 amend. The Court held that Plaintiffs failed t0 state a claim under the




                                                   1
                                                       An appeal 0f the trial court’s decision in Epic is pending.
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                                                   Cartwright Act because, under the Colgate doctrine, the conduct they alleged in restraint 0f trade

                                                   was Apple’s unilateral conduct. Applying Chavez v. Whirlpool Corp. (2001) 93 Cal.App.4th

                                                   363, 375 (Chavez), the Court held that because the Colgate doctrine permitted Apple’s conduct,

                                                   that same conduct could not be deemed unfair under the Unfair Competition Law, Business              &
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                                                   Professions Code section 17200 et seq. (the “UCL”).

                                                          Plaintiffs ﬁled the operative Second Amended Class Action Complaint (“SAC”) 0n April


                                                   5, 2022.   The SAC adds new allegations t0 support the claims for Violation 0f the Cartwright Act

                                                   and 0f the unlawful and unfair prongs 0f the UCL.2 Apple again demurs, urging that the new

                                                   allegations d0 not avoid the Colgate doctrine and all three causes 0f action otherwise fail t0 state

                                                   a claim. (Code CiV. Proc., § 430.10, subd. (6).) Plaintiffs oppose the demurrer.

                                                          The Court issued a tentative ruling 0n August 24, 2022.         It heard oral   argument on

                                                   August 25 and took the matter under submission. The Court now issues its ﬁnal order, which

                                                   again SUSTAINS Apple’s demurrer, this time without leave t0 amend.

                                                   I.     THE SAC’S NEW ALLEGATIONS
                                                          The February Order summarizes Plaintiffs’ allegations in the FAC at length, and that

                                                   summary is not repeated here. As reﬂected in the redline attached t0 Apple’s demurrer, the SAC

                                                   largely repeats these allegations, relying 0n a handful 0f new ones t0 avoid the application 0f the

                                                   Colgate doctrine. This order will focus on Plaintiffs’ new allegations, although the Court has

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                                                          As an initial matter, the SAC now speciﬁcally deﬁnes the “Relevant Market” as the

                                                   market for “mobile gaming transactions.” (SAC, 1] 5.) (The February Order had assumed this

                                                   was the case.) Plaintiffs allege that the App Store marketplace “makes up roughly half of the

                                                   Relevant Market as a whole.”    (161., 1]   16.) Plaintiffs also include additional context about


                                                   potential legislation and regulatory action in the United States and other countries “targeted at

                                                   big tech companies like Apple,” in-app payment systems, and/or Apple speciﬁcally. (Id,


                                                   W 102—106.)

                                                   2
                                                    The SAC omits a claim for breach 0f the implied covenant 0f good faith and fair dealing that
                                                   was included in the FAC.
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                                                           The most signiﬁcant new allegations in the SAC concern asserted retaliatory/coercive

                                                   conduct by Apple. According t0 Plaintiffs, these new allegations show more than just the mere

                                                   “announcement” 0f a policy and refusal t0 deal with those who d0 not comply (Chavez, supra,

                                                   93 Cal.App.4th at p. 373); rather, they bring this case outside the Colgate doctrine. Those

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                                                   allegations are:




                                                           119. “Rubbing salt in the wound 0f its current adversary Epic Games, the Apple

                                                          App     Store   is   promoting      Fortnite’s    biggest   competitor,   PlayerUnknown’s

                                                           Battlegrounds, a day after Fortnite Season 4 began. Apple is striking back after

                                                           Epic’s attempts t0 use      its   massive fanbase t0 pressure the tech giant in their

                                                           ongoing legal battle.” [(This is a quotation from a news article.)] This promotion

                                                           occurred the same day Apple said they would terminate Epic’s developer account

                                                          related t0 Fortnite, 0n both the App Store and 0n Twitter.




                                                           120. Apple is seeking t0 amplify harm 0n Epic for challenging its unfair business

                                                          practices    by heavily promoting competitors and making an example of Epic.

                                                           Essentially,   Apple   is   coercing    Epic and any future dissenters by directly

                                                          promoting the biggest competitor 0f its biggest dissenter. Apple retaliated against

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                                                           available t0 it contractually. This serves as a message that not only will Apple

                                                          remove you from the App Store, they will directly assist your closest competitors.



                                                           121.       Apple did not    satisfy    itself   with promoting Epic’s biggest mobile

                                                           competitor, but even threatened Unreal Engine’s existence 0n the app store, a

                                                           system non-Epic companies license from Epic t0 develop Video game and other

                                                           applications 0n iOS, among numerous other uses. This threat goes well above and

                                                          beyond any simple “refusal t0 deal” with Epic          — would have prevented anyone
                                                                                                                      it



                                                           independently contracting with Epic t0 develop their applications from hosting
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                                                          those applications 0n the App Store. Instead 0f Apple refusing t0 deal with Epic,

                                                          Apple would have forced everyone else t0 follow their iron will.



                                                           122.   The Unreal developer account is part 0f the same developer account as
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                                                          Fortnite   — Apple threatened   t0 terminate an account completely independent 0f


                                                          Fortnite and the conduct leading t0       its   removal   in   an attempt t0 punish and

                                                          retaliate against Epic for trying t0 escape its anticompetitive fee.




                                                           123.   Apple considered punitive measures against Netﬂix when Netﬂix was

                                                          considering the removal 0f in-app purchases,              showing   how Apple       coerces

                                                          developers t0 play by their rules Via more than just economic pressure. In an

                                                          email with Apple employees, Apple seemed t0 want t0                 ﬁnd ways t0 torpedo

                                                          Netﬂix’s test removal 0f in-app purchases, wanting t0 deliberately sabotage it t0

                                                          keep them in the IAP ecosystem.



                                                           124. In the US District Court for the District 0f Columbia, a coalition 0f app

                                                          developers moved t0 quash Apple’s subpoenas in connection t0 antitrust lawsuits,

                                                          claiming that the disclosure 0f the information Apple requested would leave them

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                                                          Apple’s treatment 0f Epic.




                                                          Below, the Court will address whether these new allegations make a difference.

                                                   II.    LE GAL STANDARD
                                                          A demurrer tests the legal sufﬁciency 0f the complaint. (Chen         v.   PayPal, Inc. (2021) 61

                                                   Cal.App.5th 559, 568.) Consequently, it “reaches only t0 the contents 0f the pleading and such

                                                   matters as may be considered under the doctrine ofjudicial notice.” (Wei! v. Barthel (1955) 45

                                                   Cal.2d 835, 837; see also Code CiV. Proc., § 430.30, subd. (a).)       “It is not the ordinary function


                                                   0f a demurrer t0 test the truth 0f the plaintiff” s allegations 0r the accuracy with which he
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                                                   describes the defendant’s conduct.        Thus,       the facts alleged in the pleading are deemed t0 be

                                                   true, however improbable they      may be.” (Align Technology, Inc. v. Tran (2009) 179
                                                   Cal.App.4th 949, 958, internal citations and quotations omitted.)

                                                            In ruling on a demurrer, the allegations 0f the complaint must be liberally construed,

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                                                   with a View t0 substantial justice between the parties. (Glennen v. Allergan, Inc. (2016) 247

                                                   Cal.App.4th 1, 6.) Nevertheless, while “[a] demurrer admits all facts properly pleaded, [it does]

                                                   not [admit] contentions, deductions 0r conclusions 0f law 0r fact.” (George v. Automobile Club

                                                   ofSouthern California (201 1) 201 Cal.App.4th 1112, 1120.) A demurrer will succeed where the

                                                   allegations and matters subject t0 judicial notice clearly disclose a defense 0r bar t0 recovery.

                                                   (Casterson v. Superior Court (2002) 101 Cal.App.4th 177, 183.)

                                                   III.    CARTWRIGHT ACT AND DERIVATIVE UCL UNLAWFUL CLAIM
                                                           As summarized in the February Order, recovery under the Cartwright Act “is provided

                                                   where the activities 0f a combination 0f capital, skill, 0r acts by two 0r more persons result in a

                                                   restraint 0f trade.   ([G.H.I.I. v. MTS, Inc. (1983) 147 Cal.App.3d 256,] 264—265 [(G.H.I.I.)],


                                                   citing Bus.   & Prof. Code, §§ 16720 [deﬁning a ‘trust’ for purposes 0f the Act] & 16750
                                                   [establishing a private right 0f action].)” (February Order, p. 7.)

                                                           “It is well settled that the antitrust laws d0 not preclude a trader from unilaterally


                                                           determining the parties with whom it will deal and the terms on which it will

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                                                           unilateral conduct.”      (G.H.I.I., supra,   147 Cal.App.3d at pp. 267—268, citations

                                                           omitted.)     “It is   also established, however, that a necessary       ‘conspiracy’   0r

                                                           ‘combination’ cognizable as an antitrust action is formed where a trader uses

                                                           coercive tactics t0 impose restraints upon otherwise uncooperative businesses.          If


                                                           a ‘single trader’ pressures customers 0r dealers into pricing arrangements, an

                                                           unlawful combination is established, irrespective 0f any monopoly 0r conspiracy,

                                                           and despite the recognized right 0f a trader t0 determine with whom it will deal.”

                                                           (Id. at p. 268.)


                                                   (February Order, pp. 9—10.)
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                                                   Coercion in this context



                                                   requires something         more than a simple policy that business partners agree t0

                                                   certain terms.        “[A]n illegal combination may be found where a supplier secures

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                                                   compliance with announced policies in restraint 0f trade by means which g0

                                                   beyond mere announcement 0f policy and the refusal t0 deal,” for example, by

                                                   “tak[ing] ‘afﬁrmative action’ t0 bring about the involuntary acquiescence 0f its

                                                   dealers....”      (Kolling   v.   Dow Jones & C0. (1982) 137 Cal.App.3d 709, 721
                                                    [Kolling].)     This might include “threatening commands” aimed at price-ﬁxing.

                                                   (Id. at pp.    721—722.) Or it could include a “boycott” t0 extract price concessions.

                                                   (G.H.I.I., supra,       147 Cal.App.3d at pp. 263,   fn.   3,   269 [contrasting adequate

                                                   allegations 0f one record store’s boycott 0f distributors accompanied by threats

                                                   with inadequate allegations as t0 other stores that apparently obtained favorable

                                                   terms from distributors “in an atmosphere 0f free competition”].)




                                                   Coercion must be alleged with speciﬁcity.        (See Freeman v. San Diego Assn. 0f

                                                   Realtors (1999) 77 Cal.App.4th 171, 196 (Freeman).)              And critically, under the
                                                   so-called Colgate doctrine, coercion does not include the mere “announcement”

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                                                   with “measures t0 monitor compliance that d0 not interfere with               freedom 0f

                                                   choice.” (Chavez v. Whirlpool Corp. (2001) 93 Cal.App.4th 363, 373 (Chavez).)

                                                   Accordingly, in Chavez, allegations “that Whirlpool announced [a] price policy

                                                   prescribing minimum resale prices           and informed retailers that it would refuse

                                                   t0 sell products t0       any retailer who did not comply,” and “would monitor the

                                                   retailers’    compliance with the policy by reviewing their advertising, collecting

                                                   sales receipts,       and sending ‘mystery shoppers’   t0 retail stores,”   were deemed

                                                   “insufﬁcient t0 establish a coerced agreement in Violation 0f the Cartwright

                                                   Act.         (Ibid)
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                                                   (February Order, p. 10.)

                                                             The Court found the FAC’S allegations that Apple forces developers t0 pay its 30 percent

                                                   fee and abide by other terms stated in its contracts with them “amounts t0 open, unilateral

                                                   conduct by Apple, essentially a ‘take it 0r leave it’ deal—not threats, boycotts 0r other such

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                                                   ‘afﬁrmative action’ t0 coerce developers into a conspiracy with Apple against others.” (February

                                                   Order, p. 11.) Despite Plaintiffs’ renewed emphasis 0n Kolling and 0n In re Qualcomm Antitrust

                                                   Litig.   (N.D.Cal. 2017) 292 F. Supp. 3d 948 (Qualcomm), the Court stands by this analysis.

                                                             A.     Kolling and Qualcomm

                                                             In Kolling, a newspaper publisher coerced retailers and distributors t0 sell its papers at

                                                   lower, “suggested” retail prices. (See Kolling, supra, 137 Cal.App.3d at pp. 713—714.)             The

                                                   publisher did not openly require distributors t0 abide by its suggested prices, but “dealt with

                                                   ‘dissident’ distributors by strongly suggesting a price r011 back.          Given the company’s vastly

                                                   superior bargaining strength, such ‘suggestions’ were in fact thinly disguised and threatening

                                                   commands,” and some distributors unwillingly lowered their prices while at least one was

                                                   terminated for refusing t0 d0 so. (Kolling, supra, 137 Cal.App.3d at p. 722.) While Kolling

                                                   emphasized the publisher’s bargaining strength and ability t0 terminate distributors, it did not

                                                   suggest that these factors could turn a “mere announcement 0f policy and the refusal t0 deal” (id.

                                                   at p. 721) into an illegal combination.            Rather, Kolling expressly considered evidence 0n these

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                                                   made t0 recalcitrant distributors.   .   .
                                                                                                .”
                                                                                                     (Id. at p.   722.)

                                                             In Qualcomm} the district court found coercion was pleaded through detailed allegations

                                                   0f a multi-pronged campaign by Qualcomm t0 force cellphone handset manufacturers (“OEM”S),



                                                   3
                                                       In a footnote, the February Order noted Apple’s statement “that the district court’s eventual
                                                   ruling against Qualcomm in this case was reversed 0n appeal. (See FTC v. Qualcomm Inc. (9th
                                                   Cir. 2020) 969 F.3d 974 [(‘FTC v.    Qualcomm’)].)” (See Apple’s 12/22/21 Reply, p. 10.)
                                                   Plaintiffs correctly point out that FTC v. Qualcomm is not the same case as the Qualcomm
                                                   consumer action discussed above—but the two matters are closely related because they address
                                                   the same practices by Qualcomm. For that reason, the Ninth Circuit directed the district court in
                                                   Qualcomm t0 “reconsider the Viability of Plaintiffs’ claims given FTC v. Qualcomm.”
                                                   (Stromberg v. Qualcomm Inc. (9th Cir. 2021) 14 F.4th 1059, 1063 (Stromberg).) AS the Ninth
                                                   Circuit explained, “[w]e concluded in FTC v. Qualcomm that Qualcomm’s SEP licensing


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                                                   including Apple, t0 agree t0 unreasonable and anticompetitive licensing terms. (See Qualcomm,

                                                   supra, 292 F. Supp. 3d at pp. 958—962 [summarizing allegations].) The campaign involved

                                                   Qualcomm’s leveraging 0f its dominance in the modem chip market to extract unfair licensing

                                                   fees in the separate market for standard essential patents (“SEP”S), as well as its pressuring 0f

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                                                   Apple into exclusive dealing arrangements in part by offering a rebate 0f some 0f these excessive

                                                   royalties.   (See ibid.)    Qualcomm acknowledged Chavez’s holding that “allegations that the

                                                   defendant refused t0 deal with dealers who did not comply with a resale price policy and used

                                                   ‘other unspeciﬁed ‘threats, coercion, intimidation and boycott’ t0 cause the dealers t0 comply”


                                                   were insufﬁcient t0 show coercion. (Qualcomm, supra, 292 F. Supp. 3d at p. 976.) But it

                                                   explained that the allegations before it were “signiﬁcantly more detailed,” emphasizing

                                                   allegations that Qualcomm “employed its superior market power and threatened t0 withhold

                                                   chips if OEMS did not agree t0 Qualcomm’s licensing terms.” (Ibid., italics added.)          As with

                                                   Kolling, Qualcomm did not hold that a mere announcement 0f terms and refusal t0 deal became

                                                   coercive simply by Virtue 0f Qualcomm’s power in the relevant market. Rather, Qualcomm’s

                                                   leveraging 0f its power in interrelated markets was the required “afﬁrmative action.”

                                                           With that requirement in mind, the Court turns t0 the new allegations in the SAC.

                                                           B.       New Allegations
                                                           The SAC newly alleges that 0n the same day Apple said it would terminate Epic’s

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                                                   Fortnite’s biggest competitor.      (SAC, 1] 119.) Plaintiffs characterize this as “retaliat[ion] against

                                                   Epic for breaking its rules     — going above and beyond     the punitive measures available t0 it

                                                   contractually.” (1d,, 1] 120.) Similarly, Apple “threatened t0 terminate” Epic’s Unreal developer

                                                   account “in an attempt t0 punish and retaliate against Epic for trying t0 escape its anticompetitive

                                                   fee.” (Id, 1] 122.)




                                                   practices, the same practices complained 0f here, are lawful and not anticompetitive. [Citation]
                                                   Because Plaintiffs’ arguments in this case overlap with those brought in FTC v. Qualcomm, there
                                                   would have t0 be some extraordinary difference for Plaintiffs’ claims here t0 not fail as a matter
                                                   oflaw....”    (Id. at p.   1075.)
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                                                            These types 0f actions might constitute “afﬁrmative action” (see Kolling, supra, 137

                                                   Cal.App.3d at 721) in a different context. (The Court takes n0 position 0n the issue.) But even if

                                                   these actions were considered afﬁrmative actions under Kolling, there is a signiﬁcant timing

                                                   problem here.   Plaintiffs themselves characterize these actions as “retaliat[ion]” for Epic’s

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                                                   decision t0 launch its own payment system in Violation 0f its agreements with Apple—not an

                                                   attempt t0 coerce Epic t0 comply.       And signiﬁcantly, Plaintiffs bring this action on behalf of a
                                                   putative class 0f Fortnite users who purchased digital currency 0r goods using Apple’s in-app

                                                   purchase system. While Apple’s “retaliat[ory]” actions towards Epic might coerce future

                                                   developers t0 d0 what Apple wants, it does not appear that Fortnite users could have been

                                                   harmed by Apple’s alleged retaliation against Epic after Epic had decided t0 openly break with

                                                   Apple.

                                                            The other new allegations fare n0 better. The SAC alleges that Apple “considered

                                                   punitive measures against Netﬂix when Netﬂix was considering the removal 0f in-app

                                                   purchases” (SAC, 1] 123), but there is n0 indication that Epic 0r anyone else knew about this at

                                                   the time, 0r that Apple ever followed through.       And the SAC’S vague allegation that “a coalition

                                                   0f app developers” moved t0 quash Apple’s subpoenas in certain antitrust lawsuits out 0f fear 0f

                                                   retaliation (id., 1] 124) again appears t0 relate t0 events after Epic broke with Apple, which could


                                                   not have impacted Epic 0r Fortnite users. The Court understands Plaintiffs’ argument that these

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                                                   problem. The SAC itself suggests that the fears 0f the “coalition” are justiﬁed “by Apple’s

                                                   treatment 0f Epic.”   (Id., 1] 124.)   Plaintiffs’ allegations d0 not show that a coercive atmosphere


                                                   existed during a timeframe that would have impacted Fortnite users who made purchases using

                                                   Apple’s in-app purchase system.

                                                            As for Plaintiffs’ old allegations that were carried over into the SAC, the Court stands by

                                                   its previous analysis.


                                                            C.     Conclusion

                                                            The SAC still fails t0 plead facts avoiding the Colgate doctrine. And Plaintiffs did not

                                                   explain in their papers how they could amend their complaint t0 d0 so.        At oral argument, they
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                                                   argued they could broaden the class deﬁnition t0 include all App Store users. But such a

                                                   broadening—even if it were t0 overcome the Chavez and Colgate issues identiﬁed above—

                                                   would transmogrify Plaintiffs’ claims into something far removed from the subj ect matter 0f this

                                                   complaint, which is how Apple’s treatment 0f Epic hurt Fortnite users speciﬁcally.

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                                                           Therefore, the Court will sustain Apple’s demurrer t0 the Cartwright Act claim without

                                                   leave t0 amend.     The same goes for the derivative claim under the UCL’S “unlawful” prong.

                                                   (See Camsi IV v. Hunter Technology Corp. (1991) 230 Cal.App.3d 1525, 1542 [“absent an

                                                   effective request for leave t0 amend in speciﬁed ways,” it is an abuse 0f discretion t0 deny leave

                                                   t0 amend “only if a potentially effective amendment were both apparent and consistent with the


                                                   plaintiff’s theory 0f the case”].)


                                                   IV.     UCL UNFAIR PRONG
                                                           That leaves the third cause 0f action under the UCL’S “unfair” prong, which is unchanged

                                                   from the FAC aside from some new (but essentially repetitive) details and legal conclusions. In

                                                   the February Order, the Court explained that Chavez and subsequent authorities have held “as a

                                                   matter 0f law that conduct that the courts have determined t0 be permissible under the Colgate

                                                   doctrine cannot be deemed ‘unfair’ under the unfair competition law.” (Chavez, supra, 93

                                                   Cal.App.4th at p. 375.) Plaintiffs suggest that the Court should reconsider this holding, but the

                                                   Court is not persuaded by their argument. Notably, while Plaintiffs urge the Court t0 apply the

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                                                   20 Cal.4th 163 (CeZ-Tech) t0 their allegations, Chavez held that even if Cel-Tech applied in

                                                   consumer (as opposed t0 competitor) actions, it supported the conclusion that conduct allowed

                                                   under the Colgate doctrine should not be deemed “unfair”:

                                                           If the   same conduct is alleged t0 be both an antitrust Violation and an “unfair”

                                                           business act 0r practice for the same reason--because it unreasonably restrains

                                                           competition and harms consumers--the determination that the conduct is not an

                                                           unreasonable restraint 0f trade necessarily implies that the conduct is not “unfair”

                                                           toward consumers.       T0 permit a   separate inquiry into essentially the   same

                                                           question under the unfair competition law would only invite conﬂict and




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                                                             uncertainty and could lead t0 the enjoining 0f procompetitive conduct. (See Cel-

                                                             Tech, supra, 20 Cal. 4th at p. 185.)

                                                   (Chavez, supra, 93 Cal.App.4th at p. 375.) The Court will follow Chavez here.

                                                             Plaintiffs further urge that their “anti-steering” theory is not subj ect t0 the Colgate

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                                                   doctrine.   But they provide n0 reasoning t0 support this conclusion and cite n0 authorities

                                                   addressing the application 0f the Colgate doctrine t0 similar practices—rather, they merely cite

                                                   general authorities concerning First Amendment protection 0f commercial speech (Bates v. State

                                                   Bar ofArz'z. (1977) 433 U.S. 350), the standard governing Violations 0f Section 5 0f the FTC Act

                                                   (15 U.S.C. § 45) (FTC v. Neovi, Inc. (9th Cir. 2010) 604 F.3d 1150), and unrelated antitrust

                                                   issues (Eastman Kodak C0. v. Image Tech. Servs. (1992) 504 U.S. 451, 472—477 [ﬁnding

                                                   question 0f fact 0n issue 0f power in a “tying market” based 0n evidence concerning information

                                                   costs and other subj ects]).

                                                             Plaintiffs fail t0 persuade the Court t0 take a different approach t0 this claim than it did in


                                                   the February Order, 0r t0 plead any new facts 0r provide any new authority supporting their

                                                   theory.   The Court will sustain Apple’s demurrer without leave t0 amend as t0 this claim, too.

                                                   V.        CONCLUSION
                                                             The Court SUSTAINS WITHOUT LEAVE TO AMEND Apple’s demurrer, as t0 all

                                                   three causes 0f action in the SAC. Plaintiffs fail t0 state a cause 0f action that avoids Chavez and

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                                                   arguments in support 0f its demurrer.

                                                             IT IS SO ORDERED.


                                                   Date:
                                                                August 29, 2022
                                                                                                     The Honorable Sunil R. Kulkarni
                                                                                                     Judge 0f the Superior Court




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